       Case 5:06-cr-40160-HLT          Document 482        Filed 02/14/17      Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,          )
                                   )
                  Plaintiff,       )
                                   )
v.                                 )
                                   )                 Case No. 06-40160-06-JAR
LEPOLEON REDMOND, JR.              )
                                   )
                  Defendant.       )
__________________________________ )

                                             ORDER

       On December 7, 2009, the Court sentenced Defendant Lepoleon Redmond to 188

months’ imprisonment (Doc. 366). Defendant’s sentence was subsequently reduced to 151

months pursuant to Amendment 782 of the United States Sentencing Guidelines.1 Before the

Court is Defendant’s Motion for Clarification and Enforcement of Judgment (Doc. 480).

Defendant asserts that he is entitled credit for time served in his Oklahoma state criminal

proceedings that were undischarged at the time of sentencing. Defendant contends that the

Bureau of Prisons has failed to credit 1,031 days served and 152 days of good conduct time

earned during that period.

       Judicial review of the calculation of Defendant’s sentence is not appropriate at this time.

By statute, a defendant receives

       credit toward the service of a term of imprisonment for any time he has spent in
       official detention prior to the date the sentence commences—(1) as a result of the
       offense for which the sentence was imposed; or (2) as a result of any other charge
       for which the defendant was arrested after the commission of the offense for
       which the sentence was imposed.2

       1
        Doc. 477.
       2
        18 U.S.C. § 3585(b).
       Case 5:06-cr-40160-HLT              Document 482             Filed 02/14/17   Page 2 of 3




A district court is not authorized to compute service credit under 18 U.S.C. § 3585; credit awards

are made by the Attorney General, through the Bureau of Prisons (“BOP”).3 Calculation of a

federal prisoner’s sentence may be reviewed by a habeas corpus action under 28 U.S.C. § 2241.4

However, judicial review is only appropriate after the prisoner has exhausted all of his or her

administrative remedies with the BOP.5 Here, there is no indication that Defendant has sought

administrative relief by presenting to the Attorney General his request for recalculation of his

sentence, nor has he brought a habeas action under § 2241. Therefore, this Court lacks

jurisdiction over Defendant’s request to calculate his sentence and his motion is dismissed.

       Moreover, to the extent Defendant is seeking modification of his sentence, the Court

concludes that it also lacks jurisdiction to provide the relief he seeks under 18 U.S.C. § 3582.

“A district court does not have inherent authority to modify a previously imposed sentence; it

may do so only pursuant to statutory authorization.”6 As the Tenth Circuit explained:

                A district court is authorized to modify a Defendant’s sentence
                only in specified instances where Congress has expressly granted
                the court jurisdiction to do so. Section 3582(c) of Title 18 of the
                United States Code provides three avenues through which the
                court may “modify a term of imprisonment once it has been
                imposed.” A court may modify a sentence: (1) in certain
                circumstances “upon motion of the Director of the Bureau of
                Prisons”; (2) “to the extent otherwise expressly permitted by
                statute or by Rule 35 of the Federal Rules of Criminal Procedure”;
                or (3) “upon motion of the defendant or the Director of the Bureau
                of Prisons,” or on the court’s own motion in cases where the


       3
        See United States v. Wilson, 503 U.S. 329, 336–38 (1992).
       4
        Romandine v. United States, 206 F.3d 731, 736 (7th Cir. 2000).
       5
        Id.; Thomason v. Guzik, 226 F.3d 642 (5th Cir. 2000).
       6
        United States v. Mendoza, 118 F.3d 707, 709 (10th Cir. 1997).

                                                       2
        Case 5:06-cr-40160-HLT                Document 482            Filed 02/14/17         Page 3 of 3




                  applicable sentencing range “has subsequently been lowered by the
                  Sentencing Commission.”7

As Defendant’s argued basis does not fall within any of these three limited avenues under

§ 3582(c), relief may be obtained only by appealing from the sentence8 or filing a petition under

28 U.S.C. § 2255.9 Defendant is simply not entitled to the relief he seeks.

         IT IS THEREFORE ORDERED BY THE COURT that Defendant’s Motion for

Clarification and Enforcement of Judgment (Doc. 480) is DISMISSED for lack of jurisdiction.

         IT IS SO ORDERED.

Dated: February 14, 2017

                                                                S/ Julie A. Robinson

                                                               JULIE A. ROBINSON

                                                               UNITED STATES DISTRICT JUDGE




         7
         United States v. Blackwell, 81 F.3d 945, 947-48 (10th Cir. 1996) (citations and footnote omitted).
Congress twice amended 18 U.S.C. § 3582, in 1996 and 2004; neither of these amendments substantively affects the
Tenth Circuit’s analysis.
         8
           The Tenth Circuit Court of Appeals granted the Government’s motion to enforce the appeal waiver in the
parties’ plea agreement and dismissed Mr. Redmond’s direct appeal of his sentence. Mandate, Doc. 428.
        9
          United States v. Smartt, 129 F.3d 539, 540 (10th Cir. 1997) (citing United States v. Trujeque, 100 F.3d
869, 870 (10th Cir. 1996)).

                                                          3
